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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                      Case No. C-07-5944 JST

                                   9                                                      ORDER REGARDING SCHEDULING
                                        This Order Relates To:                            OF ORAL ARGUMENTS ON MOTIONS
                                  10                                                      FOR SUMMARY JUDGMENT
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13          The Court currently has pending a large number of summary judgment motions.

                                  14   Consistent with the grouping of those motions specified in ECF No. 4078-1 and identified by the

                                  15   Court at yesterday’s Case Management Conference, the Court now sets argument on the pending

                                  16   motions on the following dates:

                                  17          1.     January 13, 2016 ‒ Control (ECF Nos. 2983, 3014, 3026, 3053, 3102);

                                  18          2.     January 20, 2016 ‒ Standing (ECF Nos. 2994, 3050) and Statute of Limitations

                                  19                 (ECF No. 3044);

                                  20          3.     January 27, 2016 ‒ Foreign Trade Antitrust Improvement Act (ECF Nos. 3003,

                                  21                 3006, 3008, 3032, 3108);

                                  22          4.     February 9, 2016 ‒ Withdrawal (ECF Nos. 2972, 2995, 3027, 3086);

                                  23          5.     February 23, 2016 ‒ Absence of Liability (ECF Nos. 2976, 2981, 2984, 3001,

                                  24                 3037, 3040, 3048); and

                                  25          6.     March 7, 2016 ‒ State Law Claims (ECF Nos. 2973, 2978, 2997, 3029, 3031).

                                  26          All hearings will take place at 9:30 a.m.

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                                   1          The sequence in which these motions are heard does not necessarily reflect the order in

                                   2   which the Court will decide them.

                                   3          IT IS SO ORDERED.

                                   4   Dated: December 16, 2015
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                                                                                                    JON S. TIGAR
                                   6                                                          United States District Judge

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Northern District of California
 United States District Court




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